         Case 1:20-cv-02405-EGS Document 39 Filed 10/26/20 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 VOTE FORWARD, et al.,

                                  Plaintiffs,

        v.
                                                        Civil Case No. 1:20-cv-02405
 LOUIS DEJOY, in his official
 capacity as the Postmaster General; and the
 UNITED STATES POSTAL SERVICE,

                                 Defendants.



                                      PROPOSED ORDER

       Upon consideration of Plaintiffs’ Emergency Motion to Enforce and Monitor Compliance

with Preliminary Injunction and Request for Expedited Briefing and Hearing, the memoranda

and exhibits submitted in support thereof, and the opposition thereto, it is hereby ORDERED

that Plaintiffs’ Motion is GRANTED.

       It is FURTHER ORDERED that:

       1. No later than 9:00 a.m. on October 28, 2020, Defendants shall issue a memorandum

             to United States Postal Service (USPS) personnel that:

                a. clearly and unequivocally rescinds the set of guidelines issued on July 14,

                    2020, by USPS Vice President of Logistics, Robert Cintron, regarding the use

                    of late and extra trips (Cintron Guidelines); and

                b. directs USPS personnel to perform late and extra trips to the maximum extent

                    necessary to increase on-time mail deliveries, particularly for Election Mail,

                    and specifically authorizes USPS personnel to perform late and extra trips to

                    the same or greater degree that they were performed prior to the issuance of


                                                  1
        Case 1:20-cv-02405-EGS Document 39 Filed 10/26/20 Page 2 of 2




                     the Cintron Guidelines in order to meet this goal of increasing on-time mail

                     deliveries.

      2. No later than 9:00 a.m. on October 28, 2020, Defendants shall distribute to USPS

         personnel a list of state-specific statutory ballot receipt deadlines, so that USPS

         managers and employees can implement the Election Mail guidance that Defendants

         have recently issued. The parties shall confer and agree on the form and substance of

         the list.

      3. Effective the date of this Order and continuing through November 20, 2020,

         Defendants shall file with the Court on a daily basis updated data on (a) the number

         of extra and late trips at the Nation, Area, and District level, including any available

         data that is specific to Election Mail; (b) the percentage of on-time deliveries at the

         Nation, Area, and District level, including any available data that is specific to

         Election Mail; and (c) any other reports generated after the date of this Order and

         produced to Congress, other courts, or other litigants.

SO ORDERED.

                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
Dated: __________________




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